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             Lone Star Technological Innovations, LLC v. ASUSTeK Computer Inc., Case No. 6:19-cv-00059-RWS
                                              Joint Claim Construction Chart
                                             EXHIBIT A: AGREED TERMS

Claim Term                  Plaintiff’s Proposed       Defendants’ Proposed      Construction Requested To Be Adopted
                            Construction               Construction              by Court
“hue”                       [AGREED]                   [AGREED]                  1) tint; 2) gradation or shade of a color or
                                                                                 color component; or 3) the angle between
                                                                                 one color or color component and the
                                                                                 other colors or color components
                                                                                 characterized in a particular color space

“saturation”                [AGREED]                   [AGREED]                  1) the intensity of a color or color
                                                                                 component characterized in a particular
                                                                                 color space; or 2) vividness of hue


“selecting to               [AGREED]                   [AGREED]                  Plain and ordinary meaning.
independently change
the hue or saturation of
an individual color”


“identifying a plurality    [AGREED]                   [AGREED]                  Plain and ordinary meaning.
of said input image
pixels having said
selected individual color
in the real time digital
video input image with
the hue or the saturation
selected to be
independently changed”




                                                          -1-
